                                                                       Case 9:19-bk-11573-MB               Doc 751 Filed 01/31/20 Entered 01/31/20 16:01:03                           Desc
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                                                                       1   Jeffrey N. Pomerantz (CA Bar No. 143717)
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                                                                       2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                           10100 Santa Monica Blvd., 13th Floor                                            FILED & ENTERED
                                                                       3   Los Angeles, CA 90067-4114
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                                                                       4   Facsimile: 310/201-0760                                                               JAN 31 2020
                                                                           Email: jpomerantz@pszjlaw.com
                                                                       5           mlitvak@pszjlaw.com
                                                                                                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                            Central District of California
                                                                       6   Attorneys for the Official Committee of                                          BY handy      DEPUTY CLERK
                                                                           Unsecured Creditors
                                                                       7

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                                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                       9
                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                      10
                                                                                                                         NORTHERN DIVISION
                                                                      11
                                                                           In re:                                                         Case No. 19-bk-11573-MB
P ACHULSKI S TANG Z IEHL & J O NES LLP




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                                                                           HVI CAT CANYON, INC.,                                          Chapter 11
                                         LOS ANGELES, C ALIFO R NIA




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                                            ATTOR NE YS A T L AW




                                                                                                                Debtor.                   ORDER GRANTING FIRST INTERIM
                                                                      14                                                                  APPLICATION OF PACHULSKI STANG
                                                                                                                                          ZIEHL & JONES LLP FOR ALLOWANCE
                                                                      15                                                                  AND PAYMENT OF COMPENSATION AND
                                                                                                                                          REIMBURSEMENT OF EXPENSES AS
                                                                      16                                                                  COUNSEL FOR THE COMMITTEE OF
                                                                                                                                          UNSECURED CREDITORS FOR THE
                                                                      17                                                                  PERIOD AUGUST 15, 2019 – OCTOBER 20,
                                                                                                                                          2019
                                                                      18
                                                                                                                                          [Relates to Docket No. 629]
                                                                      19
                                                                                                                                          Date:      January 30, 2020
                                                                      20                                                                  Time:      10:00 a.m.
                                                                                                                                          Place:     Courtroom 201
                                                                      21                                                                             U.S. Bankruptcy Court
                                                                                                                                                     1415 State Street
                                                                      22                                                                             Santa Barbara, CA 93101
                                                                                                                                          Judge:     Hon. Martin R. Barash
                                                                      23

                                                                      24              On January 30, 2020, a hearing was held to consider the first interim fee application (the

                                                                      25   “Fee Application”)1 of Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel for the Official

                                                                      26   Committee of Unsecured Creditors (the “Committee”), for the period August 15, 2019 through

                                                                      27   October 20, 2019. Appearances were as noted on the record.
                                                                           1
                                                                      28       Capitalized terms not defined herein shall have the same meaning ascribed to them in the Fee Application.


                                                                           DOCS_LA:327320.2 38336/002                                 1
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                                                                       1           Based upon the record, the responses to the Fee Application filed by the Trustee, UBS AG,

                                                                       2   London Branch, and the United State Trustee, the Committee’s reply to the responses, the arguments

                                                                       3   of counsel at the hearing, and that notice of the Fee Application was adequate, appropriate, and

                                                                       4   properly served under the circumstances and no further notice need be given, and good cause

                                                                       5   appearing therefor,

                                                                       6           IT IS HEREBY ORDERED:

                                                                       7           1.       PSZJ’s Fee Application, which requests fees in the amount of $351,167.00 and

                                                                       8   expenses in the amount of $9,180.72, for a total of $360,347.72, is approved on an interim basis.

                                                                       9           2.       The Court retains jurisdiction to decide any disputes arising under this Order.

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P ACHULSKI S TANG Z IEHL & J O NES LLP




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                                         LOS ANGELES, C ALIFO R NIA




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                                                                             Date: January 31, 2020
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